             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 1 of 16


                                                                              Processing
                                                                              Score:
                                       Processing Score: Processing Score:    Outbound Non-
Date         Area          District    Inbound Ballot     Outbound Ballot     Ballot Election
10/24/2020   Nation                                94.72%            94.11%            95.99%
10/26/2020   Nation                                93.39%            95.30%            57.19%
10/27/2020   Nation                                94.81%            91.49%            35.04%
10/28/2020   Nation                                97.07%            96.88%            76.53%
10/29/2020   Nation                                95.13%            93.95%            75.55%
10/30/2020   Nation                                93.23%            87.81%            75.84%


10/24/2020 Capital Metro                         88.75%             51.77%           75.37%
10/24/2020 Eastern                               91.40%             98.33%           75.33%

10/24/2020   Great Lakes                         88.55%             71.33%           94.70%
10/24/2020   Northeast                           95.16%             99.10%           95.89%
10/24/2020   Pacific                             98.28%             96.08%           99.87%
10/24/2020   Southern                            93.72%             57.60%           95.50%
10/24/2020   Western                             95.01%             78.24%           98.85%

10/26/2020 Capital Metro                         89.52%             85.08%           54.28%
10/26/2020 Eastern                               90.73%             98.45%           12.29%

10/26/2020   Great Lakes                         88.41%             77.56%           97.71%
10/26/2020   Northeast                           95.82%             97.46%           49.79%
10/26/2020   Pacific                             97.23%             93.93%           95.91%
10/26/2020   Southern                            90.70%             68.18%           84.79%
10/26/2020   Western                             93.36%             80.26%           97.64%

10/27/2020 Capital Metro                         74.51%             65.40%           47.23%
10/27/2020 Eastern                               92.25%             92.09%            2.61%

10/27/2020   Great Lakes                         78.94%             12.78%           33.37%
10/27/2020   Northeast                           95.05%             99.92%           61.40%
10/27/2020   Pacific                             98.84%             64.52%           89.01%
10/27/2020   Southern                            92.98%             85.74%           78.83%
10/27/2020   Western                             95.79%             28.90%           55.23%

10/28/2020 Capital Metro                         94.02%             52.28%           82.13%
10/28/2020 Eastern                               95.36%             96.78%           11.22%

10/28/2020   Great Lakes                         94.21%             19.12%           96.81%
10/28/2020   Northeast                           97.26%             99.19%           22.36%
10/28/2020   Pacific                             99.17%             96.18%           89.60%
10/28/2020   Southern                            95.11%             84.95%           93.93%
10/28/2020   Western                             97.25%             81.69%           49.13%
             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 2 of 16



10/29/2020 Capital Metro                        91.25%         38.81%      72.36%
10/29/2020 Eastern                              88.63%         99.21%       6.27%

10/29/2020   Great Lakes                        93.11%         94.96%      95.37%
10/29/2020   Northeast                          95.88%         85.66%      77.01%
10/29/2020   Pacific                            98.40%         95.81%      75.59%
10/29/2020   Southern                           96.67%         54.50%      92.74%
10/29/2020   Western                            96.04%         88.32%      78.38%

10/30/2020 Capital Metro                        88.57%          3.83%      76.70%
10/30/2020 Eastern                              88.92%         55.55%      63.44%

10/30/2020   Great Lakes                        89.82%         83.79%      66.65%
10/30/2020   Northeast                          95.11%         94.34%      96.77%
10/30/2020   Pacific                            97.91%         98.54%      77.16%
10/30/2020   Southern                           90.33%         88.87%      87.38%
10/30/2020   Western                            92.65%         87.58%      81.06%


10/24/2020 Capital Metro Atlanta                84.88%          1.74%      25.59%

10/24/2020 Capital Metro Baltimore              84.24%         96.86%      71.19%

10/24/2020 Capital Metro Capital                92.99%         49.43%      90.99%

10/24/2020 Capital Metro Greater S Carolina     92.25%         36.84%      12.82%

10/24/2020 Capital Metro Greensboro             83.59%         97.25%      89.50%

10/24/2020 Capital Metro Mid-Carolinas          90.56%         91.14%      62.22%

10/24/2020 Capital Metro Norther Virginia       91.55%         44.44%      95.04%

10/24/2020 Capital Metro Richmond               92.44%         84.75%      92.36%

10/24/2020 Eastern         Appalachian          58.89%         68.57%      68.22%

                           Central
10/24/2020 Eastern         Pennsylvania         78.49%          1.33%       0.77%

10/24/2020 Eastern         Kentuckiana          37.84%         61.11%      99.89%

10/24/2020 Eastern         Norther Ohio         91.84%          4.86%      71.23%

10/24/2020 Eastern         Ohio Valley          95.08%         95.08%      89.42%
           Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 3 of 16


                         Philadelphia
10/24/2020 Eastern       Metropo              91.56%         39.70%       4.75%

10/24/2020 Eastern       South Jersey         95.55%         99.97%      47.22%
10/24/2020 Eastern       Tennessee            88.72%         39.52%      12.64%
                         Western New
10/24/2020 Eastern       York                 96.20%         57.14%      23.81%

                         Western
10/24/2020 Eastern       Pennsylvania         98.08%         98.12%      36.03%

10/24/2020 Great Lakes   Central Illinois     89.89%          2.76%      99.08%

10/24/2020 Great Lakes   Chicago              90.71%         81.36%      10.27%

10/24/2020 Great Lakes   Detroit              74.01%         80.12%       0.09%

10/24/2020 Great Lakes   Gateway              93.44%         83.82%      99.99%

10/24/2020 Great Lakes   Greater Indiana      72.61%         78.40%      96.33%

10/24/2020 Great Lakes   Greater Michigan     91.67%         83.55%      97.30%

10/24/2020 Great Lakes   Lakeland             81.73%         26.85%      99.08%
10/24/2020 Northeast     Albany               95.19%         66.67%      78.90%
10/24/2020 Northeast     Caribbean            99.62%        100.00%      80.00%
                         Connecticut
10/24/2020 Northeast     Valley               95.55%         98.84%      79.20%

10/24/2020 Northeast     Greater Boston       96.03%         87.07%      99.45%

10/24/2020 Northeast     Long Island          96.61%         83.33%      92.47%
10/24/2020 Northeast     New York             91.16%         90.57%      37.08%

                         Northern New
10/24/2020 Northeast     England              76.61%         81.82%      98.93%

                         Northern New
10/24/2020 Northeast     Jersey               96.50%         99.58%      99.85%
10/24/2020 Northeast     Triboro              83.10%         73.61%      11.38%

10/24/2020 Northeast     Westchester          92.77%         81.25%      94.01%
10/24/2020 Pacific       Bay-Valley           98.43%         21.60%      91.16%
10/24/2020 Pacific       Honolulu             97.22%         32.31%      62.24%

10/24/2020 Pacific       Los Angeles          98.59%         80.00%      99.89%
             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 4 of 16



10/24/2020 Pacific        Sacramento            96.75%         81.30%      97.66%
10/24/2020 Pacific        San Diego             98.84%         99.70%      98.31%

10/24/2020 Pacific        San Francisco         98.32%         40.48%      98.23%
10/24/2020 Pacific        Santa Ana             99.02%         96.62%      99.97%

10/24/2020   Pacific      Sierra Coastal        98.49%         99.30%      99.99%
10/24/2020   Southern     Alabama               65.81%         34.55%      53.33%
10/24/2020   Southern     Arkansas              91.46%         45.16%      69.23%
10/24/2020   Southern     Dallas                94.59%         69.57%      36.08%
10/24/2020   Southern     Ft. Worth             90.04%         97.38%      31.22%

10/24/2020   Southern     Gulf Atlantic         90.81%          3.59%      99.10%
10/24/2020   Southern     Houston               84.65%         19.51%       5.60%
10/24/2020   Southern     Louisiana             77.30%         32.00%       8.03%
10/24/2020   Southern     Mississippi           85.50%         36.84%       9.81%
10/24/2020   Southern     Oklahoma              75.32%         70.00%      99.94%
10/24/2020   Southern     Rio Grande            91.09%         55.56%      99.56%

10/24/2020   Southern     South Florida         92.92%         22.63%      52.02%
10/24/2020   Southern     Suncoast              96.63%         60.61%      85.75%
10/24/2020   Western      Alaska                79.60%         36.00%      64.41%
10/24/2020   Western      Arizona               97.56%         79.03%      99.86%

10/24/2020 Western        Central Plains        96.73%         68.57%      99.99%
                          Colorado/Wyomin
10/24/2020 Western        g                     70.04%         66.20%      91.93%
10/24/2020 Western        Dakotas               96.23%         29.63%      99.75%
10/24/2020 Western        Hawkeye               95.24%         47.73%      99.46%

10/24/2020 Western        Mid-Americas          93.79%         69.09%      99.99%

10/24/2020 Western        Nevada Sierra         97.85%         67.66%      99.78%
10/24/2020 Western        Northland             97.30%         15.72%      96.62%
10/24/2020 Western        Portland              92.49%         14.16%      61.66%

10/24/2020 Western        Salt Lake City        98.78%         96.44%      94.81%
10/24/2020 Western        Seattle               97.75%          5.98%      32.99%

10/26/2020 Capital Metro Atlanta                89.44%          1.66%      42.27%

10/26/2020 Capital Metro Baltimore              91.27%         90.56%      38.31%

10/26/2020 Capital Metro Capital                93.19%         99.74%      89.46%

10/26/2020 Capital Metro Greater S Carolina     87.12%         56.44%      83.83%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 5 of 16



10/26/2020 Capital Metro Greensboro          82.74%         97.49%      75.11%

10/26/2020 Capital Metro Mid-Carolinas       86.13%         97.46%      34.88%

10/26/2020 Capital Metro Norther Virginia    93.48%         85.71%      77.39%

10/26/2020 Capital Metro Richmond            91.18%         35.02%      96.83%

10/26/2020 Eastern        Appalachian        74.91%         66.67%      96.71%

                          Central
10/26/2020 Eastern        Pennsylvania       78.78%          7.78%       1.60%

10/26/2020 Eastern        Kentuckiana        64.71%         78.38%      99.76%

10/26/2020 Eastern        Norther Ohio       92.64%         35.83%      40.22%

10/26/2020 Eastern        Ohio Valley        94.80%         22.15%      53.02%
                          Philadelphia
10/26/2020 Eastern        Metropo            93.02%         95.06%       0.07%

10/26/2020 Eastern        South Jersey       90.89%         99.96%       3.26%
10/26/2020 Eastern        Tennessee          92.82%         79.17%      96.79%
                          Western New
10/26/2020 Eastern        York               96.60%         97.83%      84.26%

                          Western
10/26/2020 Eastern        Pennsylvania       97.26%         25.29%      83.49%

10/26/2020 Great Lakes    Central Illinois   94.36%         78.12%      99.80%

10/26/2020 Great Lakes    Chicago            87.65%         76.81%      79.12%

10/26/2020 Great Lakes    Detroit            73.74%         49.48%      25.01%

10/26/2020 Great Lakes    Gateway            93.19%         98.80%      99.90%

10/26/2020 Great Lakes    Greater Indiana    79.85%         92.38%      94.75%

10/26/2020 Great Lakes    Greater Michigan   87.30%          7.32%      99.88%

10/26/2020 Great Lakes    Lakeland           87.44%         12.96%      90.95%
10/26/2020 Northeast      Albany             96.31%         93.43%      64.83%
10/26/2020 Northeast      Caribbean          98.61%         32.26%      98.67%
                          Connecticut
10/26/2020 Northeast      Valley             94.79%         98.08%      76.71%
             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 6 of 16



10/26/2020 Northeast     Greater Boston         96.96%         88.15%      78.30%

10/26/2020 Northeast     Long Island            96.02%         90.48%      77.66%
10/26/2020 Northeast     New York               96.48%         94.06%      27.17%

                         Northern New
10/26/2020 Northeast     England                84.44%         91.49%      94.41%

                         Northern New
10/26/2020 Northeast     Jersey                 96.75%         97.47%      11.15%
10/26/2020 Northeast     Triboro                89.11%         94.06%      14.29%

10/26/2020 Northeast     Westchester            94.53%         97.14%      80.16%
10/26/2020 Pacific       Bay-Valley             96.84%         43.51%      98.01%
10/26/2020 Pacific       Honolulu               94.73%         62.16%      99.49%

10/26/2020 Pacific       Los Angeles            96.37%         72.86%      92.34%

10/26/2020 Pacific       Sacramento             97.07%         95.49%      82.05%
10/26/2020 Pacific       San Diego              98.07%         84.13%      99.34%

10/26/2020 Pacific       San Francisco          97.77%         78.33%      99.54%
10/26/2020 Pacific       Santa Ana              97.65%         98.77%      99.33%

10/26/2020   Pacific     Sierra Coastal         97.96%         86.96%      94.81%
10/26/2020   Southern    Alabama                74.20%         58.40%      85.35%
10/26/2020   Southern    Arkansas               91.95%         87.50%      98.28%
10/26/2020   Southern    Dallas                 91.99%         84.76%      85.96%
10/26/2020   Southern    Ft. Worth              88.62%         14.97%      47.62%

10/26/2020   Southern    Gulf Atlantic          85.84%         10.23%      27.52%
10/26/2020   Southern    Houston                90.23%         84.44%      97.46%
10/26/2020   Southern    Louisiana              74.00%         55.34%      98.35%
10/26/2020   Southern    Mississippi            74.01%         67.44%      82.13%
10/26/2020   Southern    Oklahoma               78.07%         90.00%      99.74%
10/26/2020   Southern    Rio Grande             87.58%         85.34%      92.83%

10/26/2020   Southern    South Florida          90.41%         80.26%      87.16%
10/26/2020   Southern    Suncoast               94.38%         72.18%      92.88%
10/26/2020   Western     Alaska                 82.66%         62.50%      88.33%
10/26/2020   Western     Arizona                97.90%         83.60%      92.17%

10/26/2020 Western       Central Plains         90.81%         28.73%      99.70%
                         Colorado/Wyomin
10/26/2020 Western       g                      61.57%         48.06%      68.44%
10/26/2020 Western       Dakotas                94.98%         55.74%      93.53%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 7 of 16


10/26/2020 Western        Hawkeye             97.56%        81.97%      99.83%

10/26/2020 Western        Mid-Americas        86.67%        81.08%      99.88%

10/26/2020 Western        Nevada Sierra       87.16%        61.61%      98.62%
10/26/2020 Western        Northland           92.23%        85.37%      97.58%
10/26/2020 Western        Portland            97.24%        59.78%      61.99%

10/26/2020 Western        Salt Lake City      97.83%        88.46%      94.53%
10/26/2020 Western        Seattle             96.26%        12.47%      97.19%

10/27/2020 Capital Metro Atlanta              40.29%         0.38%      11.92%

10/27/2020 Capital Metro Baltimore            85.30%        66.13%       3.02%

10/27/2020 Capital Metro Capital              88.98%        99.95%      11.49%

10/27/2020 Capital Metro Greater S Carolina   80.06%        64.75%      14.57%

10/27/2020 Capital Metro Greensboro           75.66%        98.45%      44.40%

10/27/2020 Capital Metro Mid-Carolinas        70.25%        88.70%      77.24%

10/27/2020 Capital Metro Norther Virginia     61.12%        65.63%      83.21%

10/27/2020 Capital Metro Richmond             82.75%        86.67%      88.83%

10/27/2020 Eastern        Appalachian         49.65%        37.14%      45.95%

                          Central
10/27/2020 Eastern        Pennsylvania        57.30%        22.91%       4.25%

10/27/2020 Eastern        Kentuckiana         57.07%         8.33%      86.79%

10/27/2020 Eastern        Norther Ohio        91.23%         9.92%       0.35%

10/27/2020 Eastern        Ohio Valley         94.85%        38.81%      26.47%
                          Philadelphia
10/27/2020 Eastern        Metropo             96.13%        86.01%       0.04%

10/27/2020 Eastern        South Jersey        96.68%        99.76%       0.12%
10/27/2020 Eastern        Tennessee           92.01%        64.71%      72.56%
                          Western New
10/27/2020 Eastern        York                98.20%        94.64%      80.00%

                          Western
10/27/2020 Eastern        Pennsylvania        97.25%        97.36%      95.20%
             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 8 of 16



10/27/2020 Great Lakes   Central Illinois       85.08%          9.15%      98.26%

10/27/2020 Great Lakes   Chicago                90.04%         64.58%      18.25%

10/27/2020 Great Lakes   Detroit                49.11%         35.48%       1.46%

10/27/2020 Great Lakes   Gateway                80.38%         42.21%      23.06%

10/27/2020 Great Lakes   Greater Indiana        42.78%         63.86%      17.15%

10/27/2020 Great Lakes   Greater Michigan       55.29%          1.11%       0.16%

10/27/2020 Great Lakes   Lakeland               55.46%         82.93%       5.68%
10/27/2020 Northeast     Albany                 82.50%         62.50%      47.37%
10/27/2020 Northeast     Caribbean              99.57%         28.79%      96.67%
                         Connecticut
10/27/2020 Northeast     Valley                 75.41%         56.00%       9.87%

10/27/2020 Northeast     Greater Boston         93.77%         91.28%      92.35%

10/27/2020 Northeast     Long Island            97.16%         80.56%       6.29%
10/27/2020 Northeast     New York               94.96%         21.21%      98.20%

                         Northern New
10/27/2020 Northeast     England                59.01%         66.67%       4.58%

                         Northern New
10/27/2020 Northeast     Jersey                 97.50%         99.96%       0.62%
10/27/2020 Northeast     Triboro                95.52%         32.00%      86.61%

10/27/2020 Northeast     Westchester            70.88%         76.92%      81.74%
10/27/2020 Pacific       Bay-Valley             99.09%         56.76%      94.16%
10/27/2020 Pacific       Honolulu               96.42%         92.00%      97.39%

10/27/2020 Pacific       Los Angeles            99.21%         17.39%      73.36%

10/27/2020 Pacific       Sacramento             97.93%         38.46%      34.72%
10/27/2020 Pacific       San Diego              99.12%         13.48%      98.14%

10/27/2020 Pacific       San Francisco          99.33%         84.62%      96.37%
10/27/2020 Pacific       Santa Ana              99.14%         26.61%      96.61%

10/27/2020   Pacific     Sierra Coastal         98.72%         98.49%      93.38%
10/27/2020   Southern    Alabama                53.19%         60.00%       4.98%
10/27/2020   Southern    Arkansas               68.46%         80.00%       1.50%
10/27/2020   Southern    Dallas                 85.09%         59.26%       1.24%
             Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 9 of 16


10/27/2020 Southern       Ft. Worth             74.17%         28.30%       3.41%

10/27/2020   Southern     Gulf Atlantic         84.91%         16.67%      87.32%
10/27/2020   Southern     Houston               75.65%         70.00%      12.66%
10/27/2020   Southern     Louisiana             64.95%         83.33%      14.63%
10/27/2020   Southern     Mississippi           84.44%        100.00%       5.26%
10/27/2020   Southern     Oklahoma              62.57%         37.25%       6.06%
10/27/2020   Southern     Rio Grande            84.88%         46.97%       6.03%

10/27/2020   Southern     South Florida         94.55%         84.62%      95.14%
10/27/2020   Southern     Suncoast              97.13%         90.97%       9.31%
10/27/2020   Western      Alaska                81.89%         42.86%      49.44%
10/27/2020   Western      Arizona               98.35%         19.86%      47.96%

10/27/2020 Western        Central Plains        95.62%         52.94%      96.92%
                          Colorado/Wyomin
10/27/2020 Western        g                     77.81%          2.40%       3.77%
10/27/2020 Western        Dakotas               92.65%         19.61%       3.59%
10/27/2020 Western        Hawkeye               97.69%         75.00%       0.09%

10/27/2020 Western        Mid-Americas          95.05%         56.52%       0.08%

10/27/2020 Western        Nevada Sierra         97.69%         24.47%      33.67%
10/27/2020 Western        Northland             95.50%         86.88%      82.67%
10/27/2020 Western        Portland              97.78%          6.69%      44.63%

10/27/2020 Western        Salt Lake City        89.01%          9.09%      47.80%
10/27/2020 Western        Seattle               98.08%          6.56%      28.97%

10/28/2020 Capital Metro Atlanta                95.13%          4.63%      27.03%

10/28/2020 Capital Metro Baltimore              94.31%         54.72%       8.12%

10/28/2020 Capital Metro Capital                96.50%         12.07%      45.56%

10/28/2020 Capital Metro Greater S Carolina     91.26%         16.96%      15.72%

10/28/2020 Capital Metro Greensboro             91.06%         65.16%      97.47%

10/28/2020 Capital Metro Mid-Carolinas          90.19%         57.21%      14.57%

10/28/2020 Capital Metro Norther Virginia       96.99%         31.52%      57.26%

10/28/2020 Capital Metro Richmond               96.95%         19.44%      29.50%

10/28/2020 Eastern        Appalachian           88.92%         34.29%      46.99%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 10 of 16



                         Central
10/28/2020 Eastern       Pennsylvania        83.66%         49.49%      82.03%

10/28/2020 Eastern       Kentuckiana         62.16%         66.67%      27.71%

10/28/2020 Eastern       Norther Ohio        97.64%         72.60%       1.55%

10/28/2020 Eastern       Ohio Valley         97.97%         37.91%      86.48%
                         Philadelphia
10/28/2020 Eastern       Metropo             96.75%         46.01%       1.64%

10/28/2020 Eastern       South Jersey        97.46%         98.25%       0.35%
10/28/2020 Eastern       Tennessee           94.25%         53.33%       7.43%
                         Western New
10/28/2020 Eastern       York                98.54%          7.38%      15.97%

                         Western
10/28/2020 Eastern       Pennsylvania        98.53%         97.73%      50.91%

10/28/2020 Great Lakes   Central Illinois    96.09%          5.00%      72.02%

10/28/2020 Great Lakes   Chicago             95.91%         91.43%      42.53%

10/28/2020 Great Lakes   Detroit             79.37%         66.00%      99.89%

10/28/2020 Great Lakes   Gateway             95.72%         55.67%      39.67%

10/28/2020 Great Lakes   Greater Indiana     86.54%         75.32%      91.97%

10/28/2020 Great Lakes   Greater Michigan    95.49%          3.05%      44.70%

10/28/2020 Great Lakes   Lakeland            93.11%         24.07%      69.51%
10/28/2020 Northeast     Albany              98.30%         61.54%       6.09%
10/28/2020 Northeast     Caribbean           99.50%                      0.00%
                         Connecticut
10/28/2020 Northeast     Valley              98.13%         45.95%      72.94%

10/28/2020 Northeast     Greater Boston      97.73%         37.84%      58.33%

10/28/2020 Northeast     Long Island         99.00%        100.00%      41.67%
10/28/2020 Northeast     New York            97.35%         84.09%      49.35%

                         Northern New
10/28/2020 Northeast     England             83.12%          5.77%      11.01%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 11 of 16



                        Northern New
10/28/2020 Northeast    Jersey               97.28%         99.22%       0.82%
10/28/2020 Northeast    Triboro              88.25%         91.67%       8.00%

10/28/2020 Northeast    Westchester          97.90%         24.24%      18.34%
10/28/2020 Pacific      Bay-Valley           99.18%         81.82%      94.48%
10/28/2020 Pacific      Honolulu             98.90%         90.48%      96.75%

10/28/2020 Pacific      Los Angeles          98.86%         16.50%      81.49%

10/28/2020 Pacific      Sacramento           99.33%         84.35%      49.48%
10/28/2020 Pacific      San Diego            99.32%         99.83%      97.69%

10/28/2020 Pacific      San Francisco        98.89%         66.67%      98.53%
10/28/2020 Pacific      Santa Ana            99.66%         99.11%      92.58%

10/28/2020   Pacific    Sierra Coastal       98.82%         98.97%      98.91%
10/28/2020   Southern   Alabama              76.49%         25.71%      23.48%
10/28/2020   Southern   Arkansas             94.79%         37.50%      84.21%
10/28/2020   Southern   Dallas               94.29%          9.84%      47.06%
10/28/2020   Southern   Ft. Worth            94.58%         21.43%      27.03%

10/28/2020   Southern   Gulf Atlantic        94.11%         19.77%      97.06%
10/28/2020   Southern   Houston              95.09%         33.33%      53.23%
10/28/2020   Southern   Louisiana            74.58%         80.00%      73.79%
10/28/2020   Southern   Mississippi          92.18%         71.43%      23.29%
10/28/2020   Southern   Oklahoma             71.50%         71.43%      56.94%
10/28/2020   Southern   Rio Grande           91.96%          7.48%      30.68%

10/28/2020   Southern   South Florida        95.12%         26.97%      97.41%
10/28/2020   Southern   Suncoast             96.44%         89.27%      90.00%
10/28/2020   Western    Alaska               93.97%         71.43%      99.90%
10/28/2020   Western    Arizona              98.08%         88.46%       6.21%

10/28/2020 Western      Central Plains       96.50%         33.33%      51.30%
                        Colorado/Wyomin
10/28/2020 Western      g                    80.22%          0.90%      53.20%
10/28/2020 Western      Dakotas              96.61%          8.70%      75.39%
10/28/2020 Western      Hawkeye              98.47%         70.00%       0.36%

10/28/2020 Western      Mid-Americas         95.64%         70.00%       3.95%

10/28/2020 Western      Nevada Sierra        98.04%         20.56%      67.55%
10/28/2020 Western      Northland            97.10%          0.53%      62.61%
10/28/2020 Western      Portland             98.13%         28.13%      70.51%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 12 of 16



10/28/2020 Western        Salt Lake City      98.11%        97.20%      81.63%
10/28/2020 Western        Seattle             98.23%         1.53%      67.13%

10/29/2020 Capital Metro Atlanta              94.08%         2.08%      14.76%

10/29/2020 Capital Metro Baltimore            95.60%        46.17%      10.04%

10/29/2020 Capital Metro Capital              95.18%        49.12%      86.55%

10/29/2020 Capital Metro Greater S Carolina   78.95%        68.85%      24.19%

10/29/2020 Capital Metro Greensboro           89.22%        94.56%      78.99%

10/29/2020 Capital Metro Mid-Carolinas        86.46%        18.04%      83.14%

10/29/2020 Capital Metro Norther Virginia     95.32%        27.27%      80.00%

10/29/2020 Capital Metro Richmond             94.08%        89.09%      23.09%

10/29/2020 Eastern        Appalachian         90.17%        83.33%      66.64%

                          Central
10/29/2020 Eastern        Pennsylvania        70.07%        65.63%      31.01%

10/29/2020 Eastern        Kentuckiana         86.66%        27.40%      75.95%

10/29/2020 Eastern        Norther Ohio        86.47%        87.32%       0.85%

10/29/2020 Eastern        Ohio Valley         95.62%        95.49%      86.45%
                          Philadelphia
10/29/2020 Eastern        Metropo             91.42%        99.05%       0.25%

10/29/2020 Eastern        South Jersey        95.45%        99.34%       0.18%
10/29/2020 Eastern        Tennessee           96.80%        31.31%      68.07%
                          Western New
10/29/2020 Eastern        York                96.76%        67.86%      98.99%

                          Western
10/29/2020 Eastern        Pennsylvania        97.41%        98.99%      96.01%

10/29/2020 Great Lakes    Central Illinois    96.88%        98.96%      76.20%

10/29/2020 Great Lakes    Chicago             95.43%        83.33%      85.96%

10/29/2020 Great Lakes    Detroit             78.14%        94.17%      99.80%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 13 of 16



10/29/2020 Great Lakes   Gateway             93.38%         59.90%      62.61%

10/29/2020 Great Lakes   Greater Indiana     84.62%         68.24%      83.25%

10/29/2020 Great Lakes   Greater Michigan    89.75%         97.57%      27.57%

10/29/2020 Great Lakes   Lakeland            94.70%         89.55%      94.15%
10/29/2020 Northeast     Albany              96.84%         82.35%      83.78%
10/29/2020 Northeast     Caribbean           99.76%        100.00%      92.59%
                         Connecticut
10/29/2020 Northeast     Valley              95.54%         50.00%      83.99%

10/29/2020 Northeast     Greater Boston      92.75%         28.90%      58.01%

10/29/2020 Northeast     Long Island         97.03%         96.15%      82.70%
10/29/2020 Northeast     New York            97.13%         82.93%      89.02%

                         Northern New
10/29/2020 Northeast     England             82.49%         65.71%      34.93%

                         Northern New
10/29/2020 Northeast     Jersey              97.59%         85.80%      55.12%
10/29/2020 Northeast     Triboro             92.65%         94.59%      95.62%

10/29/2020 Northeast     Westchester         95.98%         85.71%      96.66%
10/29/2020 Pacific       Bay-Valley          98.47%         67.31%      99.39%
10/29/2020 Pacific       Honolulu            91.92%         75.56%      96.91%

10/29/2020 Pacific       Los Angeles         98.34%         59.62%      60.15%

10/29/2020 Pacific       Sacramento          98.56%         96.08%      83.59%
10/29/2020 Pacific       San Diego           99.32%         98.57%      47.04%

10/29/2020 Pacific       San Francisco       98.74%         73.47%      98.84%
10/29/2020 Pacific       Santa Ana           98.59%         98.98%      56.47%

10/29/2020   Pacific     Sierra Coastal      98.57%         34.51%      88.58%
10/29/2020   Southern    Alabama             90.51%         66.67%      17.12%
10/29/2020   Southern    Arkansas            97.36%         88.10%      83.04%
10/29/2020   Southern    Dallas              95.30%         69.05%      48.77%
10/29/2020   Southern    Ft. Worth           93.86%         99.36%      95.71%

10/29/2020   Southern    Gulf Atlantic       95.98%         42.65%      93.62%
10/29/2020   Southern    Houston             96.55%         86.67%      61.94%
10/29/2020   Southern    Louisiana           94.02%         95.83%      92.63%
10/29/2020   Southern    Mississippi         95.89%         87.50%      71.98%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 14 of 16


10/29/2020 Southern       Oklahoma            84.18%        84.21%      87.16%
10/29/2020 Southern       Rio Grande          94.68%        92.31%      64.61%

10/29/2020   Southern     South Florida       96.33%        72.92%      96.88%
10/29/2020   Southern     Suncoast            98.01%        26.68%      75.50%
10/29/2020   Western      Alaska              85.50%        62.50%      99.80%
10/29/2020   Western      Arizona             98.38%        87.94%      49.59%

10/29/2020 Western        Central Plains      94.16%        36.51%      56.45%
                          Colorado/Wyomin
10/29/2020 Western        g                   72.50%        54.84%      67.11%
10/29/2020 Western        Dakotas             97.47%        53.49%      96.32%
10/29/2020 Western        Hawkeye             97.60%        70.00%      34.37%

10/29/2020 Western        Mid-Americas        95.36%        77.78%      20.99%

10/29/2020 Western        Nevada Sierra       98.17%        29.58%      99.02%
10/29/2020 Western        Northland           85.72%        50.00%      58.35%
10/29/2020 Western        Portland            97.47%        39.60%      75.77%

10/29/2020 Western        Salt Lake City      97.66%        98.34%      94.95%
10/29/2020 Western        Seattle             98.16%        23.23%      91.39%

10/30/2020 Capital Metro Atlanta              84.23%         3.41%      67.18%

10/30/2020 Capital Metro Baltimore            92.42%         3.14%      23.57%

10/30/2020 Capital Metro Capital              93.63%        29.63%      96.59%

10/30/2020 Capital Metro Greater S Carolina   85.95%        19.10%      50.26%

10/30/2020 Capital Metro Greensboro           84.91%         1.06%      93.34%

10/30/2020 Capital Metro Mid-Carolinas        80.77%        27.42%      19.70%

10/30/2020 Capital Metro Norther Virginia     90.51%        86.67%      96.98%

10/30/2020 Capital Metro Richmond             92.43%        88.24%      82.88%

10/30/2020 Eastern        Appalachian         91.04%        10.20%      96.60%

                          Central
10/30/2020 Eastern        Pennsylvania        77.20%        23.34%      43.52%

10/30/2020 Eastern        Kentuckiana         77.06%        64.71%      77.96%

10/30/2020 Eastern        Norther Ohio        95.21%        32.60%      43.17%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 15 of 16



10/30/2020 Eastern       Ohio Valley         94.05%         28.08%      82.74%
                         Philadelphia
10/30/2020 Eastern       Metropo             83.60%         98.78%      15.61%

10/30/2020 Eastern       South Jersey        91.70%         46.67%      42.31%
10/30/2020 Eastern       Tennessee           91.52%         85.25%      80.35%
                         Western New
10/30/2020 Eastern       York                97.01%        100.00%      77.61%

                         Western
10/30/2020 Eastern       Pennsylvania        90.08%         89.59%      98.82%

10/30/2020 Great Lakes   Central Illinois    91.52%         75.21%      63.61%

10/30/2020 Great Lakes   Chicago             94.08%         88.89%      73.41%

10/30/2020 Great Lakes   Detroit             77.81%         75.93%      13.41%

10/30/2020 Great Lakes   Gateway             91.36%         95.41%      56.47%

10/30/2020 Great Lakes   Greater Indiana     73.73%         33.33%      95.71%

10/30/2020 Great Lakes   Greater Michigan    88.61%         97.15%      82.06%

10/30/2020 Great Lakes   Lakeland            89.71%         73.68%      55.07%
10/30/2020 Northeast     Albany              96.40%         86.96%      55.18%
10/30/2020 Northeast     Caribbean           98.40%         75.00%     100.00%
                         Connecticut
10/30/2020 Northeast     Valley              93.34%         87.50%      91.24%

10/30/2020 Northeast     Greater Boston      93.71%         88.37%      99.33%

10/30/2020 Northeast     Long Island         95.89%         66.67%      81.67%
10/30/2020 Northeast     New York            95.03%         95.24%      99.23%

                         Northern New
10/30/2020 Northeast     England             76.46%         55.00%      97.31%

                         Northern New
10/30/2020 Northeast     Jersey              97.35%         94.37%      98.56%
10/30/2020 Northeast     Triboro             90.80%         76.92%      97.10%

10/30/2020 Northeast     Westchester         95.91%         76.92%      98.18%
10/30/2020 Pacific       Bay-Valley          98.18%         86.96%      97.47%
10/30/2020 Pacific       Honolulu            92.52%         93.75%      99.48%
          Case 1:20-cv-02405-EGS Document 51-3 Filed 10/31/20 Page 16 of 16



10/30/2020 Pacific      Los Angeles          98.53%         88.99%      33.99%

10/30/2020 Pacific      Sacramento           98.25%         46.55%      91.75%
10/30/2020 Pacific      San Diego            98.03%         98.99%      91.11%

10/30/2020 Pacific      San Francisco        96.20%         93.94%      98.09%
10/30/2020 Pacific      Santa Ana            98.70%         99.44%      90.26%

10/30/2020   Pacific    Sierra Coastal       97.86%         47.27%      90.96%
10/30/2020   Southern   Alabama              80.69%         25.64%      93.13%
10/30/2020   Southern   Arkansas             93.77%         71.43%      99.83%
10/30/2020   Southern   Dallas               91.20%         89.29%      79.02%
10/30/2020   Southern   Ft. Worth            85.94%         78.57%      99.89%

10/30/2020   Southern   Gulf Atlantic        88.03%         36.36%      69.10%
10/30/2020   Southern   Houston              87.39%         22.06%      79.81%
10/30/2020   Southern   Louisiana            85.69%         57.14%      59.33%
10/30/2020   Southern   Mississippi          81.19%        100.00%      83.36%
10/30/2020   Southern   Oklahoma             75.94%         89.29%      99.16%
10/30/2020   Southern   Rio Grande           86.62%         86.05%      96.68%

10/30/2020   Southern   South Florida        90.06%         57.14%      88.79%
10/30/2020   Southern   Suncoast             93.98%         90.53%      72.71%
10/30/2020   Western    Alaska               91.07%         20.00%      81.65%
10/30/2020   Western    Arizona              91.47%         88.48%      99.55%

10/30/2020 Western      Central Plains       92.56%         67.50%      94.65%
                        Colorado/Wyomin
10/30/2020 Western      g                    61.40%         91.29%      11.74%
10/30/2020 Western      Dakotas              94.50%         85.19%      96.54%
10/30/2020 Western      Hawkeye              95.27%        100.00%      91.09%

10/30/2020 Western      Mid-Americas         89.79%         91.94%      68.40%

10/30/2020 Western      Nevada Sierra        97.55%         40.35%      92.53%
10/30/2020 Western      Northland            92.69%         42.11%      79.37%
10/30/2020 Western      Portland             95.64%         77.36%      78.25%

10/30/2020 Western      Salt Lake City       98.27%         85.41%      98.58%
10/30/2020 Western      Seattle              94.65%         35.89%      98.73%
